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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF VIRGINIA
                                    Richmond Division


TOKS BANC CORP., et ai,

                     Plaintiffs,

V,                                                Civil Action No. 3:20cv393-HEH


UNITED NATIONS,et al

                     Defendants.


                               MEMORANDUM ORDER
                           (Dismissing Plaintiffs Complaint)

       THIS MATTER is before the Court on its own initiative. On June 1, 2020,

Adesijuol Ogunjobi {pro se "Plaintiff), on behalf of himself and others similarly

situated, filed a Class Action Complaint in this Court against the United Nations, the

World Health Organization, and the Center for Disease Control (collectively, the

"Defendants")(ECF No. 1). His forty-four-page Complaint alleges six claims—

violations of 18 U.S.C. §§ 227 and 1001(1)(2)(3), and 25 C.F.R. § 11.430, as well as

malfeasance, deprivation, and manipulation and brainwash—all arising out ofthe effects

ofthe global pandemic. For the reasons set forth below, the Court finds that it may not

exercise jurisdiction over this matter. Accordingly, the Court DISMISSES Plaintiffs

Complaint.

       "If the court determines at any time that it lacks subject-matter jurisdiction, the

court must dismiss the action." Fed. R. Civ. P. 12(h)(3); Goldsmith v. Mayor & City

Council ofBaltimore, 845 F.2d 61,64(4th Cir. 1988). "[T]he absence ofjurisdiction
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may be raised at any time during the case, and may be based on the court's review ofthe
evidence." Lovern v. Edwards, 190 F.3d 648,654(4th Cir. 1999).

       "The mere assertion of a federal claim is not sufficient to obtain jurisdiction

under 28 U.S.C. §§ 1331." Davis v. Pak,856 F.2d 648,650(4th Cir. 1988). "Federal

jurisdiction requires that a party assert a substantial federal claim." Hagans v. Lavine,

415 U.S. 528, 536(1974)(emphasis added). However,this standard is not meant to be

used flippantly. Crosby ex rel. Crosby v. Holsinger, 816 F.2d 162, 164(4th Cir. 1987)

("[T]he action must be clearly foreclosed by authoritative precedent or must have such a

tenuous connection with a federal question that no possible facts would entitle the

plaintiff to relief."). Notably, it is Plaintiffs burden to establish jurisdiction in this Court,

and he has failed to assert in his Complaint a sufficiently substantial basis for jurisdiction

in this matter. Kokkonen v. Guardian Life Ins., 511 U.S. 375, 377(1994)("Federal

courts are courts of limited jurisdiction.... It is to be presumed that a cause lies outside

this limited jurisdiction, and the burden of establishing the contrary rests upon the party

asserting jurisdiction."(citations omitted)).

       The Court also acknowledges that pro se complaints are afforded a liberal

construction. Laber v. Harvey,438 F.3d 404, 413 n.3 (4th Cir. 2006). The Court,

however, need not attempt "to discern the unexpressed intent of the plaintiff." Id. Nor

does the requirement of liberal construction excuse a clear failure in the pleading to

allege a federally cognizable claim. See Welter v. Dep't ofSoc. Servs., 901 F.2d 387,

390-91 (4th Cir. 1990). As the Fourth Circuit explained in Beaudett v. City ofHampton,

"[tjhough [pro sel litigants cannot, of course, be expected to frame legal issues with the
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clarity and precision ideally evident in the work ofthose trained in law, neither can

district courts be required to conjure up and decide issues never fairly presented to them."

775 F.2d 1274, 1276 (4th Cir. 1985).

       Construing Plaintiffs Complaint liberally as this Court must, the principal relief

Plaintiff seeks is for this Court to "declare coronavirus BOGUS." (Compl.^ 1.) Among

other things. Plaintiff alleges that "[tjhere is no scientific evidence COVID-19 actually

exists let alone [is] harmful." {Id.) He appears to be operating upon a theory that,

because sickness is an inherent component of the human experience, the protective

measures taken by the United States Government have not only been unnecessary but

have immeasurably harmed Plaintiff, and those represented by his class. {Id.) It is plain

that "each [allegation] is a series of fantastical ramblings and frivolous statements."

Pearson v. Va., No. 3:19-cv-952-HEH, ECF No.9 at 3. Further evidencing the triviality

ofPlaintiffs Complaint, Plaintiff includes an endless list ofentities—some of which

include the Democratic Party, the Los Angelos Rams,the Federal Reserve Bank of

Richmond, and the People's Republic of China—as members of the class ofPlaintiffs in

this matter.


      "Over the years,[the Supreme Court of the United States] has repeatedly held that

the federal courts are without power to entertain claims otherwise within their jurisdiction

if they are 'so attenuated and insubstantial as to be absolutely devoid of merit, wholly

insubstantial, obviously frivolous, plainly insubstantial, or no longer open to discussion.'"

Davis, 856 F.2d at 650-51 (quoting Hagans,415 U.S. at 536-37). The Fourth Circuit

has directly acknowledged this principle. See id. at 651 ("[T]he substantiality doctrine
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'remains the federal rule and needs no reexamination here.'"(quoting Hagans,415 U.S.

at 538.)) Plaintiffs lawsuit is precisely the type of case the Supreme Court contemplated

when developing this doctrine as Plaintiffs Complaint emanates frivolity. "[T]his case is

a monument to what ought not to be in a federal court." Lovern, 190 F.3d at 656.

       Therefore, upon due consideration, this Court finds that it lacks subject matter

jurisdiction and thus the matter cannot proceed. Accordingly, the Court hereby

DISMISSES Plaintiffs Complaint. Plaintiff is free to amplify the factual and legal bases

upon which his claim rests and then refile with this Court. Plaintiffs Motion for Pro Se

E-Noticing is also DENIED AS MOOT(EOF No. 2).

       Should Plaintiff wish to appeal this Order, written notice of appeal must be filed

with the Clerk of Court within thirty (30) days of the date of entry hereof. Failure to file

a notice of appeal within that period may result in the loss of the right to appeal.

       The Clerk is directed to send a copy of this Order to Plaintiff, who appears pro se.

       This case is CLOSED.


       It is so ORDERED.



                                                  Henry E. Hudson
                                                  Senior United States District Judge
Date:Tune. ^^2626
Richmond, Virginia
